            Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 1 of 14




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1) NATIONAL FIRE & MARINE
   INSURANCE COMPANY,

                             Plaintiff,

vs.                                               Case No.   CIV-22-468-G

1) KINGS AUTO SALES INC.;
2) SAMIR EL YOUBI;
3) KATHLEEN NUNLEY MONAHAN;
   and
4) PETER MONAHAN,

                             Defendants.


                    COMPLAINT FOR DECLARATORY RELIEF

       COMES NOW the Plaintiff, National Fire & Marine Insurance Company, by and

through the undersigned, pursuant to 28 U.S.C. §§ 2201 et seq., and for its Complaint for

Declaratory Relief against the Defendants herein, alleges and states as follows:

       1.     This action seeks a declaratory judgment to determine a real and justiciable

controversy among the parties with respect to their rights and obligations, if any, under an

insurance policy issued by Plaintiff naming Defendant Kings Auto Sales, Inc., as insured,

described in greater detail below.

                           PARTIES, JURISDICTION, AND VENUE

       2.     Plaintiff National Fire & Marine Insurance Company (“National”) is an

insurance company incorporated under the laws of the State of Nebraska with its principal

place of business in the State of Nebraska.



                                              1
            Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 2 of 14




       3.     Defendant Kings Auto Sales Inc. (“Kings Auto”) is a suspended for-profit

corporation incorporated under the laws of the State of Oklahoma with its principal place of

business in Oklahoma County, State of Oklahoma.

       4.     Defendant Samir El Youbi (“El Youbi”) is a citizen of Canadian County,

State of Oklahoma.

       5.     Defendants Kathleen Nunley Monahan and Peter Monahan (“the Monahans”)

are a married couple. Each of the Monahans is a citizen of the State of California.

       6.     Underlying this action is a judgment for damages the Monahans obtained

against Kings Auto and El Youbi in a lawsuit filed in the Superior Court of the State of

California in and for the County of Mendocino, captioned Monahan v. Acosta, et al.,

Case No. SCUK-CVPM-18-71886. The Monahans have since petitioned to have that

judgment registered as a foreign judgment in the District Court of Oklahoma County,

State of Oklahoma, in the action captioned Monahan v. Kings Auto Sales, Inc., et al.,

Case No. CV-2022-183. See Okla. Stat. tit. 12 §§ 719-726 (Uniform Enforcement of

Foreign Judgments Act). The amount of such judgment is in excess of $75,000.00.

       7.     The Plaintiff National is diverse from Defendants Kings Auto, El Youbi,

and the Monahans, and the amount in controversy exceeds $75,000.00. Subject matter

jurisdiction for this action is proper under 28 U.S.C. § 1332.

       8.     Venue is proper within the U.S. District Court for the Western District of

Oklahoma pursuant to 28 U.S.C. § 1391(b)(2), or alternatively 28 U.S.C. § 1391(b)(3).




                                              2
             Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 3 of 14




                                   THE NATIONAL POLICY

       9.      For the times relevant herein, National had issued a Commercial Policy

providing Garage Coverage, policy no. 72 GHS 036561, with policy period from

08/03/2016 to 08/03/2017 (“the Policy”).

       10.     “Kings Auto Sales Inc.” is the Named Insured on the Policy.

       11.     Throughout the Policy, the words “you” and “your” refer to Kings Auto. The

words “we,” “us” and “our” refer to National.

       12.     In pertinent part, the Policy provides as follows regarding liability coverage:

               SECTION II – LIABILITY COVERAGE
               A. Coverage
                  …
                  2. “Garage Operations” – Covered “Autos”
                     We will pay all sums an “insured” legally must pay as
                     damages because of “bodily injury” or “property
                     damage” to which this insurance applies, caused by an
                     “accident” and resulting from “garage operations”
                     involving the ownership, maintenance or use of covered
                     “autos”. We will also pay all sums an “insured” legally
                     must pay as “covered pollution cost or expense” to
                     which this insurance applies, caused by an “accident”
                     and resulting from “garage operations” involving the
                     ownership, maintenance or use of covered “autos”.
                     However, we will only pay for the “covered pollution
                     cost or expense” if there is either “bodily injury” or
                     “property damage” to which this insurance applies that
                     is caused by the same “accident.”
                      We have the right and duty to defend any “insured”
                      against a “suit” asking for such damages or a “covered
                      pollution cost or expense”. However, we have no duty
                      to defend any “insured” against a “suit” seeking
                      damages for “bodily injury” or “property damage” or a
                      “covered pollution cost or expense” to which this
                      insurance does not apply. We may investigate and settle
                      any claim or “suit” as we consider appropriate. Our


                                               3
                Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 4 of 14




                         duty to defend or settle ends when the Liability
                         Coverage Limit of Insurance – “Garage Operations” –
                         Covered “Autos” has been exhausted by payment of
                         judgments or settlements.
                                            *******

          13.     The Policy provides as follows with regard to who is an insured under the

Policy:

                  SECTION II – LIABILITY COVERAGE
                  A. Coverage
                     …
                     3. Who Is An Insured
                        a. The following are “insureds” for covered “autos”:
                           (1) You for any covered “auto”.
                           (2) Anyone else while using with your permission a
                               covered “auto” you own, hire or borrow except:
                               …
                           (3) Anyone liable for the conduct of an “insured”
                               described above but only to the extent of that
                               liability.
                           (4) Your “employee” while using a covered “auto”
                               you do not own, hire or borrow in your business
                               or your personal affairs.
                                            *******

          14.     The Policy’s Garage Declarations defines “covered ‘autos’” with symbol 21,

meaning “Any ‘Auto’”.

          15.     The Policy contains the following conditions, in pertinent part:

                  SECTION V – GARAGE CONDITIONS
                  The following conditions apply in addition to the Common
                  Policy Conditions:
                  A. Loss Conditions
                     …
                     2. Duties In The Event Of Accident, Claim, Suit Or
                         Loss




                                                  4
      Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 5 of 14




               We have no duty to provide coverage under this policy
               unless there has been full compliance with the following
               duties:
               a. In the event of “accident”, claim, “suit” or “loss”,
                   you must give us or our authorized representative
                   prompt notice of the accident or “loss”. Include:
                   (1) How, when and where the “accident” or “loss”
                   occurred;
                   (2) The “insured’s” name and address; and
                   (3) To the extent possible, the names and addresses
                       of any injured persons and witnesses.
               b. Additionally, you and any other involved “insured”
                   must:
                   (1) Assume no obligation, make no payment or incur
                       no expense without our consent, except at the
                       “insured’s” own cost.
                   (2) Immediately send us copies of any request,
                       demand, order, notice, summons or legal paper
                       received concerning the claim or “suit”.
                   (3) Cooperate with us in the investigation or
                       settlement of the claim or defense against the
                       “suit”.
                                  *******

16.     The Policy contains the following definitions, in pertinent part:

        SECTION VI-DEFINITIONS
        A. “Accident” includes continuous or repeated exposure to the
           same conditions resulting in “bodily injury” or “property
           damage”.
        B. “Auto” means a land motor vehicle, “trailer” or semitrailer.
        C. “Bodily injury” means bodily injury, sickness or disease
           sustained by a person including death resulting from any of
           these.
        …
        I. “Insured” means any person or organization qualifying as
           an insured in the Who Is an Insured provision of the
           applicable coverage. Except with respect to the Limit of
           Insurance, the coverage afforded applies separately to each
           insured who is seeking coverage or against whom a claim or
           “suit” is brought.
        …


                                        5
            Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 6 of 14




              P. “Suit” means a civil proceeding in which:
                 1. Damages because of “bodily injury” …
                 …
                    to which this insurance applies, are claimed.
                    …
                                        *******

      17.     By endorsement, the Policy defines “garage operations” as follows:

              “Garage operations” means the ownership, maintenance, or use
              of locations for garage business and that portion of the roads or
              other accesses that adjoin these locations. “Garage operations”
              includes the ownership, maintenance, or use of the “autos”
              indicated in SECTION I of this Coverage Form as covered
              “autos.” “Garage operations” also includes all operations
              necessary or incidental to a garage business. “Garage
              operations” does not include the ownership or use of any “auto”
              which is not a covered “auto” under this policy.
                                        *******

                 RELEVANT UNDERLYING FACTS AND CIRCUMSTANCES

      18.     On or about December 29, 2016, the Monahans were involved in a vehicular

accident in California.   Peter Monahan was driving the Monahans’ vehicle; Kathleen

Nunley Monahan was a passenger in the Monahans’ vehicle. At the time of accident, a

vehicle driven by nonparty Isidro Acosta (“Acosta”) struck the Monahans’ vehicle. The

Monahans each sustained bodily injury in the accident.

      19.     On December 10, 2018, the Monahans commenced an action for their

damages arising out of the December 29, 2016, accident in the Superior Court of the

State of California in and for the County of Mendocino, captioned Monahan v. Acosta, et

al., Case No. SCUK-CVPM-18-71886 (“the Lawsuit”).




                                             6
             Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 7 of 14




       20.     The Lawsuit named as defendants Acosta, Kings Auto, and El Youbi.

Summarily, the Monahans alleged Acosta negligently operated his vehicle, causing the

Monahans’ injury, and that Kings Auto and El Youbi owned and negligently entrusted to

Acosta the vehicle Acosta was operating.

       21.     Upon information and belief, neither Kings Auto nor El Youbi owned the

vehicle Acosta was operating at the time of accident. Rather, Kings Auto had sold the

vehicle to a different third party in Oklahoma on or about July 8, 2016.

       22.     Upon information and belief, Kings Auto and El Youbi do not know, have no

relationship with, and have never had contact with Acosta.

       23.     On January 8, 2019, Kings Auto and El Youbi were personally served with

the Lawsuit. Upon such receipt, Kings Auto and El Youbi hired counsel, Attorney A. Eva

Borghei located in Oklahoma City, to represent them in the Lawsuit.

       24.     At the time Kings Auto and El Youbi were served with the Lawsuit, neither

of them notified National of such Lawsuit.

       25.     At the time Kings Auto and El Youbi received notice of the Lawsuit, neither

of them notified National of the vehicular accident giving rise to the Lawsuit.

       26.     Kings Auto and El Youbi hired Attorney Borghei without National’s

knowledge.

       27.     On February 16, 2019, Kings Auto and El Youbi were personally served with

the Monahans’ respective Statements of Damages sought in the Lawsuit pursuant to Cal.

Civ. Proc. Code § 425.11.




                                              7
             Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 8 of 14




       28.     Neither Kings Auto nor El Youbi provided copies of the Monahans’

respective Statements of Damages to National.

       29.     On February 19, 2019, Attorney Borghei filed an Answer in the Lawsuit on

behalf of Kings Auto and El Youbi.

       30.     Neither Attorney Borghei, nor Kings Auto, nor El Youbi provided a copy of

their Answer in the Lawsuit to National.

       31.     Upon information and belief, Attorney Borghei was not licensed to practice

law in the State of California when she filed Kings Auto’s and El Youbi’s Answer in the

Lawsuit, nor had she sought admission pro hac vice prior to filing said Answer.

       32.     Upon information and belief, Kings Auto and El Youbi never retained

counsel licensed to practice law in the State of California to represent them in the Lawsuit.

       33.     On or about March 3, 2020, the Monahans served Attorney Borghei, Kings

Auto, and El Youbi with Requests for Admission in the Lawsuit, which instructed Kings

Auto and El Youbi to respond to the same within thirty (30) days, and which further

instructed that a failure to respond could result in an order that deemed as true the facts at

issue in the Requests.

       34.     Summarily, in their Requests for Admission, the Monahans sought admission

of facts regarding Kings Auto’s and El Youbi’s alleged negligent entrustment of a vehicle to

Acosta, leading to the Monahans’ injuries.

       35.     Neither Attorney Borghei, nor Kings Auto, nor El Youbi provided copies of

the Monahans’ Requests for Admission to National.




                                              8
             Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 9 of 14




       36.     On or about July 17, 2020, the Monahans filed in the Lawsuit a Notice of

Motion and Motion for Order Deeming Admitted Truth of Facts, wherein the Monahans

advised that on August 14, 2020, they would move for an order in the Lawsuit deeming

admitted the truth of facts set forth in their Requests for Admission served upon Kings Auto

and El Youbi on March 3, 2020. The Monahans’ Notice advised that the grounds for their

motion was that Kings Auto and El Youbi failed to serve timely responses to the Requests

for Admission.

       37.     Upon information and belief, copies of the Monahans’ Notice of Motion and

Motion for Order Deeming Admitted Truth of Facts filed in the Lawsuit were mailed or

otherwise transmitted to Attorney Borghei, Kings Auto, and El Youbi.

       38.     Neither Attorney Borghei, nor Kings Auto, nor El Youbi provided to National

a copy of the Monahans’ Notice of Motion and Motion for Order Deeming Admitted Truth

of Facts.

       39.     On or about August 14, 2020, the court presiding over the Lawsuit granted

the Monahans’ Motion for Order Deeming Admitted Truth of Facts.

       40.     On or about October 23, 2020, the Monahans filed in the Lawsuit a Notice of

Motion by Plaintiffs for Summary Judgment, wherein the Monahans advised that on

January 15, 2021, they would move for summary judgment in their favor in the Lawsuit on

the grounds that there were no contested issues of law or fact as to Acosta’s, Kings Auto’s

and El Youbi’s liability or the Monahans’ damages and that the Monahans were therefore

entitled to judgment as a matter of law.




                                             9
          Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 10 of 14




       41.    Upon information and belief, copies of the Monahans’ Notice of Motion by

Plaintiffs for Summary Judgment filed in the Lawsuit were mailed or otherwise transmitted

to Attorney Borghei, Kings Auto, and El Youbi.

       42.    Neither Attorney Borghei, nor Kings Auto, nor El Youbi provided to National

a copy of the Monahans’ Notice of Motion by Plaintiffs for Summary Judgment.

       43.    The evidence the Monahans relied upon in support of their Motion for

Summary Judgment against Kings Auto and El Youbi were the facts deemed admitted as

true due to Kings Auto’s and El Youbi’s failure to respond to the Requests for Admission

propounded upon them.

       44.    On January 15, 2021, the court presiding over the Lawsuit entered its Order

granting the Monahans’ Motion for Summary Judgment.

       45.    On April 5, 2021, and having previously granted the Monahans’ Motion for

Summary Judgment, the court presiding over the Lawsuit entered Judgment in favor of the

Monahans and against Kings Auto and El Youbi, to wit: Judgment in favor of Kathleen

Nunley Monahan against Kings Auto and El Youbi, jointly and severally, in the amount of

$1,250,000.00; and judgment in favor of Peter Monahan against Kings Auto and El Youbi,

jointly and severally, in the amount of $350,000.00.

       46.    Upon information and belief, on or about April 6, 2021, a copy of the

Judgment entered in the Lawsuit was mailed or otherwise transmitted to Attorney Borghei,

Kings Auto, and/or El Youbi, but none of those individuals/entities ever then transmitted the

Judgment to National.




                                             10
          Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 11 of 14




       47.    On January 28, 2022, the Monahans filed in the District Court of Oklahoma

County, State of Oklahoma, at Case No. CV-2022-183, a Petition for Registration of

Foreign Judgment, wherein the Monahans asked the Oklahoma district court to give full

faith and credit to the Judgment entered in the Lawsuit and recognize such Judgment as

valid and enforceable against Kings Auto and El Youbi in Oklahoma.

       48.    On April 21, 2022, Kings Auto and El Youbi were served with the

Monahans’ Petition for Registration of Foreign Judgment filed in Case No. CV-2022-183,

District Court of Oklahoma County, State of Oklahoma.

       49.    Upon receipt, Kings Auto and El Youbi did not immediately forward to

National the Monahans’ Petition for Registration of Foreign Judgment filed in Case No.

CV-2022-183, District Court of Oklahoma County, State of Oklahoma.

       50.    On April 26, 2022, National received a letter dated April 21, 2022, from the

Monahans’ counsel in the Lawsuit, Attorney Benjamin Mainzer. In his letter, Attorney

Mainzer advised of his representation of the Monahans and entry of Judgment in the

Lawsuit against Kings Auto and El Youbi. Attorney Mainzer’s letter included a copy of the

Judgment.

       51.    Attorney Mainzer’s letter to National advised that the Monahans were seeking

to collect on the Judgment.

       52.    Attorney Mainzer’s letter was National’s first notice of the Lawsuit, the

accident underlying it involving the Monahans, and the Judgment entered against Kings

Auto and El Youbi.




                                           11
          Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 12 of 14




       53.    The Monahans, through Attorney Mainzer, have made demand upon

National, Kings Auto’s insurer, to pay some or all of the Judgment.

                          COVERAGE ISSUES UNDER THE POLICY

       54.    In failing to give notice of the Lawsuit, the accident underlying the Lawsuit,

and any of the filings in the Lawsuit prior to entry of the Judgment, Kings Auto and El

Youbi failed to comply with the Policy’s provisions regarding “Duties In The Event Of

Accident, Claim, Suit Or Loss”.

       55.    As a result of Kings Auto’s and El Youbi’s failure to comply with the

Policy’s provisions regarding “Duties In The Event Of Accident, Claim, Suit Or Loss”,

National has been prejudiced.

       56.    In particular, but without limitation, National was deprived of its right under

the Policy to control Kings Auto’s and El Youbi’s defense in the Lawsuit and to assert a

defense on behalf of Kings Auto and El Youbi in the Lawsuit, leading to the Judgment

entered against Kings Auto and El Youbi.

       57.    Kings Auto’s and El Youbi’s failure to comply with the Policy’s provisions

regarding “Duties In The Event Of Accident, Claim, Suit Or Loss” precludes coverage

under the Policy for the Lawsuit, the accident underlying the Lawsuit, and the Judgment

entered in the Lawsuit and registered as a foreign judgment in Oklahoma.

       58.    Further, under the facts known to National, alleged herein, El Youbi does not

qualify as an “insured” under the Policy.

       59.    Further, under the facts known to National, alleged herein, Acosta does not

qualify as an “insured” under the Policy.


                                             12
            Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 13 of 14




                             CLAIM FOR DECLARATORY RELIEF

          60.   In light of the foregoing, and under the clear and unambiguous terms of the

Policy, no coverage exists under the Policy to respond to the Monahans’ claims against

Kings Auto, El Youbi, and Acosta; the Lawsuit; the accident underlying the Lawsuit; and

the Judgment entered in the Lawsuit and registered as a foreign judgment in Oklahoma.

          61.   Based on the foregoing, there exists an actual and justiciable controversy

between National, Kings Auto, El Youbi, and the Monahans within the jurisdiction of this

Court and involving the rights and liabilities of the parties under a contract of insurance,

which controversy may be determined by a judgment of this Court.

          62.   National seeks guidance from this Court to determine the rights and

obligations of the parties, including confirmation that National does not have any duty to

indemnify Kings Auto, El Youbi, or Acosta in the Lawsuit or for the Judgment, as described

herein.

                                   PRAYER FOR RELIEF

          WHEREFORE, premises considered, Plaintiff National Fire & Marine Insurance

Company prays this Court enter a declaration pursuant to 28 U.S.C. §§ 2201 et seq.

holding, adjudging and decreeing:

          (1)   that there is no coverage under the Policy for the claims asserted against

Kings Auto, El Youbi, and Acosta in the Lawsuit;

          (3)   that National is under no duty to pay or in any way satisfy or partially satisfy

the Judgment entered in the Lawsuit and registered as a foreign judgment in the State of

Oklahoma; and


                                               13
            Case 5:22-cv-00468-G Document 1 Filed 06/07/22 Page 14 of 14




      (4)      for any other and further relief this Court deems just and proper in the

premises.


                                         Respectfully submitted

                                         NATIONAL FIRE & MARINE
                                         INSURANCE COMPANY,
                                                            — Plaintiff

                                         By:           /s/Tyler J. Coble
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                                           14
